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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 X-MOBILE TECHNOLOGIES LLC,
                                                   CIVIL ACTION NO. 4:17-cv-696
      Plaintiff,

        v.                                         JURY TRIAL DEMANDED

 ZTE CORPORATION AND
 ZTE (TX), INC.,

      Defendants.


                      PLAINTIFF X-MOBILE TECHNOLOGIES LLC’S
                        CORPORATE DISCLOSURE STATEMENT

       Plaintiff X-Mobile Technologies LLC (“X-Mobile”) is a Texas limited liability company.

X-Mobile has no parent corporation, and no publicly held company owns 10% or more of its stock.

Dated: October 5, 2017                     Respectfully submitted,

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                                 Attorneys for X-Mobile LLC




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 5 t h day of October 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.


                                             /s/ Zachariah S. Harrington
                                             Zachariah S. Harrington




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